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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                    Western District
                                                  __________         of of
                                                              District  Wisconsin
                                                                           __________


        ACE AMERICAN INSURANCE COMPANY                             )
                             Plaintiff                             )
                                v.                                 )      Case No.    18-cv-532
 CUMMINS, INC., and BRUNSWICK CORPORATIO                           )
                            Defendant                              )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          BRUNSWICK CORPORATION                                                                                                .


Date:          08/15/2018                                                                   s/ Monica A. Mark
                                                                                             Attorney’s signature


                                                                             Monica A. Mark, WI State Bar ID No. 1082428
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